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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division

                                                )
UNITED STATES OF AMERICA,                       )
                                                ) Case No. 3:12-cr-045
               Plaintiff,                       )
                                                )
       vs.                                      )
                                                )
ARASH MOAZZENI,                                 )
                                                )
               Defendant.                       )

   DEFENDANT’S OBJECTIONS TO PRESENTENCE INVESTIGATION REPORT
       Defendant, Arash Moazzeni (“Moazzeni”), by counsel, hereby files the following

objections to the Presentence Investigation Report (“PSR”) prepared by the United States

Probation Office for the Eastern District of Virginia (the “Probation Office”).

                                          ARGUMENT

       As detailed more fully below, the loss amount and amount for restitution provided in the

PSR should be revised downward as follows: (1) Loss amount: $272,494.76; (2) Restitution

amount: $242,975.19.

       I. Loss Amount

       The PSR provides that the total loss amount in this case is $488,930.95. This is incorrect.

First, the amount of loss attributed to Count IX (the “Bankruptcy Count”) is calculated based on

the amounts claimed by creditors in Moazzeni’s bankruptcy schedules. This is an incorrect

method of calculating losses in this case. The loss should instead be calculated as the value of the

assets Moazzeni concealed from his creditors, as this best reflects the economic realities of the

loss suffered in this particular case. Second, the loss amounts for Count I (the “Tax Count”) are

at variance with the amounts claimed due and owing by the IRS and the Virginia Department of

Taxation.
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        A.     The Bankruptcy Loss Amount Is Improperly Calculated.

        The PSR states that the total loss to victims of Moazzeni’s bankruptcy fraud is

$190,320.27. (See PSR at 13–16, 32.) To calculate this amount, the Probation Office compiled

the names of unsecured creditors in Moazzeni’s bankruptcy and aggregated the amounts

appearing on the schedules. This is an incorrect method of calculating loss given the facts of this

case.

        According to the Sentencing Guidelines, “loss” is defined as the greater of either “actual

loss” or “intended loss.” U.S.S.G. § 2B1.1, cmt. n.2(A). In cases where a bankruptcy court

refuses to discharge a debtor’s liabilities, no actual loss results from the defendant’s fraud. See

United States v. Wheeldon, 313 F.3d 1070, 1072 (8th Cir. 2002). Courts therefore look to the

probable intended loss for purposes of calculating a sentencing enhancement under §

2B1.1(b)(1). See id. The loss “intended to result from [the defendant’s] offense,” U.S.S.G. §

2B1.1 cmt. n.2(A)(ii), is “the amount of loss [the defendant] intended to cause by concealing

assets.” United States v. Hughes, 401 F.3d 540, 557 (4th Cir. 2005).

        While there is no categorical rule on calculating losses in cases involving bankruptcy

fraud, a general rule for making this determination emerges from Eighth Circuit precedent. In

United States v. Dolan, 120 F.3d 856 (8th Cir. 1997), the defendant committed bankruptcy fraud

by concealing assets well in excess of the debt to be discharged. Id. at 862, 870–71. Under those

circumstances, the Eighth Circuit concluded that the intended loss should be calculated “by using

either the value of the assets concealed or the value of the debtor’s liabilities, whichever is less.”

Id. at 870. In contrast to Dolan, in United States v. Wheeldon, 313 F.3d 1070 (8th Cir. 2002), the

defendant filed for bankruptcy protection and concealed assets worth much less than the debt

scheduled to be discharged. Id. at 1072. The Eighth Circuit found that “[i]t belies reality to argue

that [the defendant], or a debtor similarly situated, intended to defraud his creditors of everything

he owed them solely because he failed to disclose all of his (rather modest) assets.” Id. at 1073.




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Accordingly, the court held that intended loss should be limited to the value of the concealed

assets to which the defendant’s creditors would have been aware had the bankruptcy petition

been truthful. Id.; accord United States v. Hughes, 401 F.3d 540, 557 (4th Cir. 2005) (noting that

“in determining the amount of loss in a bankruptcy fraud case, courts may look to the amount of

loss [the defendant] intended to cause by concealing assets”) (internal citations omitted). The

Eighth Circuit in United States v. Holthaus, 486 F.3d 451 (8th Cir. 2007), noted that this general

rule may not be applicable in cases where “a defendant’s fraudulent concealment creates an

illusory eligibility for bankruptcy . . . .” Id. at 455.

        In the joint bankruptcy case filed on October 15, 2005, Moazzeni (and his wife, Diane

Tarangelo) filed schedules in which they listed liabilities of $429,748.91. (Doc. No. 17, In re

Moazzeni and Tarangelo, No. 05-42670-DOT (E.D. Va. Bankr.). They listed assets of

$122,230.00. Yet, Moazzeni admitted that he concealed assets from his creditors. The assets

concealed and their estimated values at the time of concealment are as follows:



                       Asset                                              Value

Residence located at 7424 Secretariat Drive,           Assessed Value: 2005 tax assessed value:
Midlothian (Chesterfield County), Virginia             $132,000; Citibank assessed value: $208,000.

                                                       Encumbrances: Outstanding Mortgages: First
                                                       Mortgage: $116,111.75; Equity Line of Credit:
                                                       $50,000. Total secured liens on property:
                                                       $166,111.75.

                                                       Equity Available to Unsecured Creditors:
                                                       Maximum amount of equity in property
                                                       available to creditors: $41,888.25.


Residential lot located in Pendleton County,           Original Loan Amount: $11,500.00
West Virginia
                                                       Outstanding Loan Balance: $10,817.45

                                                       Equity Available to Unsecured Creditors: $0



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E*Trade bank savings account ending in –            $7,634.02
7637


Wachovia bank checking account ending in –          $655.08
3793


Scottrade stock brokerage account ending in –       Margin Account1: (-$36,616.54)
27–17
                                                    Amount Available to Unsecured Creditors: $0


Blue Grass Valley Bank mortgage to purchase         No value to unsecured creditors.
Pendleton County, West Virginia residential
lot, account ending in – 2485


Citibank F.S.B. home equity loan, line of credit No value to unsecured creditors (agreed in plea
ending in – 0000                                 to count as loss as part of offense)


Equity One loan to purchase Trail Manor travel No value to unsecured creditors.
trailer




       Because the value of the assets concealed are much less than the amount of Moazzeni’s

liabilities, the loss should be limited to the value of the concealed assets of which his creditors

would have been aware had his 2005 Bankruptcy petition been accurate. This amount is

$50,177.35. The amount must also be increased to reflect the loss attributed to the Citibank Line

of Credit owed to Citibank N.A., F.S.B., which is $49,655.00. The total loss amount attributable

to Count 9 is therefore $99,832.55.



1
 Generally, a “margin account” is a brokerage account in which the broker lends the customer
cash to purchase securities. The loan amount is collateralized by the securities purchased and any
additional cash in the account.



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       B.      Even Assuming the PSR’s Method of Calculation Is Correct, the Amount of
               Loss Claimed Is Inaccurate.

       The following creditors were listed as victims. Yet, as the table explains, many of these

creditors cannot be “victims,” because either they were secured creditors that did not file a proof

of claim for any unsecured deficiency, priority creditors, their claim had been paid in full before

the bankruptcy, or the claim listed was a duplicate claim.

            Creditor               Explanation Why Claimed Loss                Amount of Loss
                                        Amount Is Incorrect


Springleaf Financial Services    Fully secured loan to purchase           $0
($7.858.81)                      Trailmanor Camper. Chapter 7
                                 Trustee recovered trailer in
                                 bankruptcy case.


Citifinancial Auto               Automobile loan that Moazzeni has        $0
($13,027.00)                     continued to pay.


Ocwen Loan Servicing             Arrears began to accrue on mortgage      $0
($31,521.39)                     in 2010, after the charged course of
                                 fraudulent concealment had ended.
                                 Debt is secured.


Capital One Bank                 Credit card belonging to Dianne          $0
($2,580.00)                      Tarangelo that was paid off in 2004



Citibank                         Moazzeni was authorized user on          $0
($3,212.00)                      Nasrin Moazzeni’s credit card.
                                 Credit card has been fully paid off.


City of Philadelphia             Ticket given by City of Philadelphia     $0
($265.00)                        for parking violation by Dianne
                                 Tarangelo. Fully discharged in
                                 Tarangelo’s bankruptcy.




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Fleet Card                       Company purchased by Discover           $0
($4,218.00)                      Card. Debt is same as that listed for
                                 “Discover”




First & Citizens                 Loan for Afton land. Fully paid off.    $0
($1.00


GE Money Bank                    Company ceased operation in 1990s       $0
($580.85)                        and claim does not appear to have
                                 been assigned. No proof of claim
                                 filed.2


HSBC Card                        Loan for BOSE radio. Fully paid off.    $0
($767.50)                        No proof of claim filed


Gemb/Lowes                       Credit card belonging to Diane          $0
($14,562.00)                     Tarangelo. Fully discharged in her
                                 bankruptcy. No proof of claim filed


MBNA America                     Credit card belonging to Nasrin         $0
($9,927.00)                      Moazzeni on which Moazzeni was
                                 an authorized user. Credit card has
                                 been fully paid off.



NCO-Medcir                       Duplicate of American Medical           $0
($757.00)                        Response claim.




2
  In cases filed under Chapter 7 or Chapter 13, unsecured creditors must file proofs of claim in
order to have their claims against the estate allowed. Fed. R. Bankr. P. 3002(a). By operation of
Bankruptcy Rule 9006(b)(3) on Rule 3002(c), creditors in a Chapter 7 proceeding who do not
file a proof of claim within 90 days after the meeting of creditors are barred from filing such a
claim, and by operation of law their claim is disallowed in the case. In re Davis, 936 F.2d 771,
773 (4th Cir. 1991).



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Nissan Motor Acceptance          Car loan for vehicle owned by Diane      $0
Corp.                            Tarangelo
($11,516.00)


State of New York                Student Loan debt that is not            $0
($6,671.53)                      affected by bankruptcy.


West Asset                       Duplicate of claim of Chippenham         $0
($327.00)                        Johnston-Willis


The amount of loss should accordingly be reduced by $107,792.08. The total loss using this

calculation should accordingly be $381,138.87.

       C.      The PSR’s Tax Loss Amount Is at Variance with Records from the IRS and
               Virginia Department of Taxation.

       The PSR provides that the loss to the IRS totals $259,589.65 and the loss to the Virginia

Department of Taxation is $39,021.03. Yet, records Moazzeni acquired from these agencies

show a significantly lower amount of loss. According to a payoff calculator provided on the

IRS’s website, Moazzeni owes only $140,458.79 in taxes. (See IRS Payoff Calculator, attached

hereto as Exhibit A.) In addition, the Virginia Department of Taxation reports that Moazzeni

owes $32,203.62. (See Copy of Online Chat with Va. Department of Taxation dated April 29,

2013, attached hereto as Exhibit B.) Using these records, the total loss attributable to Moazzeni’s

tax crime is $172,662.41.

       II.     Restitution

       A.      Using the Proper Calculation of Actual Loss, the Amount of Restitution
               Should Be $242,975.16.

       When ordering restitution under the Victim and Witness Protection Act (“VWPA”), a

court must consider: “(I) the amount of the loss sustained by each victim as a result of the




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offense; and (II) the financial resources of the defendant, the financial needs and earning ability

of the defendant and the defendant’s dependents, and such other factors as the court deems

appropriate.” 18 U.S.C. § 3663(a)(1)(B)(i). The amount of restitution under the VWPA is limited

to the victim’s actual losses. See United States v. Serawop, 505 F.3d 1112, 1124 (10th Cir. 2007)

(finding district court that orders restitution in an amount greater than the total loss caused by the

offense exceeds its statutory jurisdiction and imposes illegal sentence); United States v. Bussell,

414 F.3d 1048, 1061 (9th Cir. 2005) (reversing restitution order based on intended loss on

grounds that restitution is limited to the victim’s actual loss). The Government must establish the

amount of loss for restitution by a preponderance of the evidence. United States v. Mullins, 971

F.2d 1138, 1147 (4th Cir. 1992).

       The actual loss caused by Moazzeni’s concealment of assets is far below the $190,320.27

stated in the PSR. First, as noted above, the intended loss to creditors when properly calculated is

$99,832.55. The actual amount of loss should be further reduced by the amounts paid to the

Trustee and distributed to creditors in Moazzeni’s bankruptcy. According to the Chapter 13

Trustee’s Final Report and Account, Moazzeni paid $31,273.99 into his Chapter 13 plan. (See

Chapter 13 Trustee’s Final Report and Account, In re Moazzeni, 07-30177-DOT (E.D. Va.),

Doc. No. 102, attached hereto as Exhibit C.) Of this amount, $1,754.22 was paid to the Trustee

as administrative costs and $29,519.77 was distributed to creditors. Thus, the amount of

restitution attributed to the Bankruptcy Count should be $70,312.78. And the total amount of

restitution for both the Tax and Bankruptcy Counts should be $242,975.19 ($172,662.41 (amount

of actual loss on Tax Count) + $70,312.78 (amount of actual loss on Bankruptcy Count)).




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                                         CONCLUSION

       In summary, the amount of loss for Moazzeni’s crime should be $272,494.75 and the

amount due as restitution should be $242,975.19. Moazzeni requests all such additional relief as

this Court deems appropriate.


       Dated: June 10, 2013
                                              Respectfully submitted,

                                              ARASH MOAZZENI


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                                     CERTIFICATE OF SERVICE

       I hereby certify that on June 10, 2013, I will electronically file the foregoing with the
Clerk of Court using the CM/ECF system, which will then send a notification of such filing
(“NEF”) to:

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